
EDMONDSON, Circuit Judge,
concurring in the result:
I reach the same result as Judge Pryor has done: affirm the district court’s decision to deny habeas relief.
In my view, given the deferential standard commanded by AEDPA, no relief can be correctly given by us in this case. The pertinent state decision reasonably determined the facts and neither contradicted nor unreasonably applied the then clearly established federal law, in the light of the actual holdings made by the decisions of the Supreme Court of the United States— even considering later decisions (such as, the decision for prejudice in the Porter case). I believe the lack of prejudice, right through, is a particularly strong point for *1303Florida — given the evidence in this case and the deference required by AEDPA.
